    Case 19-10293-JDW       Doc 225 Filed 03/24/21 Entered 03/24/21 14:41:59           Desc BK
                              Ntc of Hrg Telephonic Page 1 of 1
                                                                                   CM/ECF bwtelhrg
                                                                                     (Rev. 06/02/20)

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

In Re: Michael Leon Brock                       )                Case No.: 19−10293−JDW
       Debtor(s)                                )                Chapter: 11
                                                )                Judge: Jason D. Woodard
                                                )
                                                )


     NOTICE OF CHANGE FROM LIVE HEARING TO TELEPHONIC HEARING
      All matters presently set, and to be set, before the Honorable Jason D. Woodard on March
31, 2021 will be held telephonically. All attorneys, parties and other interested parties appearing
should follow the dial in instructions below:
      1) Complete the dial in instructions below at least 5 minutes prior to the time of the
      hearing.
      2) Dial 877−336−1829, and when prompted, enter access code 5667710#.
      3) Once you are connected to the call, identify yourself by stating your name.
      4) Once your telephonic presence is acknowledged by the courtroom deputy, please mute
      your phone until further notice from the Court.
      5) Do not place the call on hold at any time during the call as this may lead to disturbing
      noises for the other call participants.
      Should you experience difficulties connecting to the telephonic hearing, please contact the
Clerk's Office at 662−369−2596.

DATE OF ISSUANCE: 3/24/21                           Shallanda J. Clay
                                                    Clerk, U.S. Bankruptcy Court
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                                                         Deputy Clerk
